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1                                                               The Honorable Richard A. Jones
2
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5
6
7                             UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
8
                                          AT SEATTLE
9
10
      UNITED STATES OF AMERICA,                          NO. CR11-0070RAJ
11
                               Plaintiff
12                                                       GOVERNMENT’S AMENDED
                         v.                              EXHIBIT LIST
13
      ROMAN V. SELEZNEV,
14
15
                               Defendant.
16
17
             The United States of America, through Annette L. Hayes, United States Attorney
18
     for the Western District of Washington, and Norman Barbosa and Seth Wilkinson,
19
     Assistant United States Attorneys, and Harold Chun, Trial Attorney, hereby submits this
20
     amended list of exhibits it may present in its case-in-chief. The United States reserves
21
     the right to amend this list or to offer additional exhibits as impeachment or rebuttal
22
     material.
23
     ///
24
     ///
25
26
27
28
     GOVERNMENT’S AMENDED EXHIBIT LIST                                      UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     CR11-0070RAJ United States v. Seleznev - Page 1
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1     Ex No.        Description                                                              Admitted
                     Victim Intrusion Forensic Evidence
 2     1.1           Forensic Evidence Extract : Schlotsky’s
 3     1.2           Forensic Evidence Extract: Broadway Grill
       1.3           Forensic Evidence Extract Mad Pizza First Hill
 4     1.4           Forensic Evidence Extract: Mad Pizza Madison Park
       1.5           Forensic Evidence Extract: Mad Pizza Starfire
 5
       1.6           Forensic Evidence Extract: Mad Pizza SLU
 6     1.7           Forensic Evidence Extract: Casa Mia
       1.8           Forensic Evidence Extract: Grand Central Baking
 7     1.9           Forensic Evidence Extract: Village Pizza
 8     1.10          Forensic Evidence Extract: Red Pepper Pizza
       1.10a         Video Demo of Red Pepper Pizza
 9     1.11          Track Data From File From Red Pepper Pizza
       1.12          Extract of RSCA (Malware) Hardcode
10
       1.13          Screenshot of Kameo Properties
11     1.14          Photos of Responses to Seattle Victims
       1.15          Summary of Malware Installation and Mitigation
12                   Screen Shots from Bulba.cc
13     2.1           Bulba.cc Front Page
       2.2           Track2.name Front Page
14     2.3           Bulba.cc advertisement posts
       2.4           Bulba.cc search page
15
16     2.5           Bulba.cc notification of “new feature”
       2.6           Video of Bulba Website
17     2.7           Bulba.cc Order Screen
       2.8           Bulba.cc Bin List
18
       2.9           Undercover Purchase, Order ID 86653, on Bulba.cc 4/12/2011
19     2.10          Bulba.cc Support Ticket #21250
       2.11          Bulba.cc Support Ticket #20524
20     2.12          Bulba.cc Support Ticket #20672
21     2.13          Bulba.cc Support Ticket #24101
       2.14          Bulba.cc Support Ticket #25258
22     2.15          Bulba.cc Support Ticket #27497
       2.16          Reserved
23     2.17          Bulba.cc Announcement that Shop is Closing on January 7, 2012
24 ///
25 ///
26
27
28
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1                    Items From Hop One Server
       3.1           Log File “Active Logs” from HopOne Server Listing dump files by victim
2                    IP address
3      3.1a          RESERVED
       3.1b          RESERVED
4      3.1c          RESERVED
       3.2           Full log file for Mad Pizza Starfire
5
       3.3           Full log file for Village Pizza
6      3.4           Internet history re: visits to shmak.fvds.ru
       3.5           Internet history re visits to secure.bulba.cc
7      3.6           Internet history re: visits to secure.track2.name
8      3.7           Internet history re: visits to track2vip.tv
       3.8           Internet history re: visits to Ozon.ru
9      3.9           Internet history re: visit to fibotradepro.com
       3.10          Internet history re: Bing searches for “Track2.tv” and “Track2vip.tv”
10
       3.11          Internet history re: carder.biz
11     3.12          Cached web page from carder.biz
       3.13          Reserved
12     3.14          Cached web page from carder.biz
13     3.15          Cached web page from ebaytoday.ru account for Roman Seleznev
       3.15a         Translation of 3.15
14     3.16          Cached web page from Ozon.ru
       3.16a         Translation of Ex 3.16
15     3.17          Cached web page from Ozon.ru
16     3.17a         Translation of 3.17
       3.18          RDP File from My Documents folder on HopOne Server with Finger
17                   Lakes Premier Properties IP address
       3.19          Page File Data re: romariogro1@mail.ru
18
       3.20          Page File Itinerary for Roman Seleznev flight from Moscow to Bali
19     3.21          Page File Data re: Roman Seleznev
       3.22          Page File Data Re: Roman Seleznev, Alexander Khohlachev, Alexey
20                   Smulskiy and Svetlana Smulskaya
21     3.23          Page File Data Re: Svetlana Selezneva, Eva Selezneva, et al
       3.24          Page File Data with flight-itinerary receipt for “Seleznev” and
22                   “Gaponov”
       3.25          Page File Data Re: Roman Seleznev Svetlana Selezneva, Alexander
23                   Khohlachev, and Sergei Nikulnikov
24     3.26          Page File Data Re: Svetlana Smulskaya, Alexey Smulskiy, Natalia
                     Stepnova, and Eva Selezneva
25     3.27          Reserved
       3.28          Reserved
26
       3.29          Hop One Server Drives
27     3.30          Hacking Tools from Hop One Server
       3.31          Hop One Event Logs – Indonesia
28
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1      4             Domain Registration Records
       4.1           Domain Registration for ncux.name
2      4.2           Domain Registration for ncux.asia
3      4.3           Domain Registration for ncux.tv
       4.4           Domain Registration for Bulba.cc
4      4.5           Domain Registration for Track2.name
       4.6           Domain Registration for 2pac.cc
5
       4.7           Domain Registration Record for PosDumps.com
6      4.8           Domain Registration for Track2.tv
       4.9           Domain Registration for Track2vip.tv
7      4.10          Domain Registration for Track2.cc
8      4.11          Bulba.cc and Track2.name Reverse IP Lookup
       4.12          Track2 and Bulba Domain Registration Summary
9      4.13          shmak.fvds.ru Traceroute
       4.14          nCuX Domain Registration Summary
10
                     Emails—Boookscafe@yahoo.com
11     5.1           Yahoo! Business Records reflecting creation of Yahoo! account
                     boookscafe@yahoo.com!
12     5.1a          Yahoo! 902 Certification
13     5.2           Yahoo! login records for boookscafe
       5.3           E-mails from ssav25@rambler.ru to boookscafe@yahoo.com
14     5.3a          Translation of 5.3
       5.4           E-mails addressed to Roman Seleznev from Vkontakte:
15     5.4a          Translations of Exhibit 5.4
16     5.5           E-mail addressed to Roman Seleznev from Stils.ru
       5.5a          Translation of 5.5
17     5.6           E-mails addressed to Roman Seleznev from Sendflowers.ru
       5.6a          Translations of Exhibit 5.6
18
       5.7           E-mail from Internet Store Defencer.ru to Roman Seleznev re: Order
19                   607
       5.7a          Translation of 5.7
20     5.8           E-mails re: login or user name smaus
21     5.8a          Translation of 5.8
       5.9           E-mail addressed to nCuX
22     5.9a          Translation of 5.9
       5.10          E-mails from Reggi.ru Robot
23
       5.10a         Translations of Exhibit 5.10
24     5.11          E-mails from FirstVDS
       5.11a         Translation of Exhibit 5.11.1
25     5.12          E-mails from FirstVDS
26     5.13          E-mail to f32yaris@yahoo.com
       5.14          E-mail to Christof Paar”
27     5.15          E-mails between “Rick Colho” and boookscafe@yahoo.com r
       5.16          E-mail from Pokerstars.net
28
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1      5.16a         Translation of 5.16
       5.17          E-mail from AmF.ru
2      5.17a         Translation of 5.17
3                    Emails—Rubensamvelich@yahoo.com
       6.1           Yahoo Business Records reflecting creation of Yahoo! account
4                    rubensamvelich@yahoo.com
       6.1a          Yahoo 902 Certification
5
       6.2           Login History for RSV Account
6      6.3           Paypal Emails
       6.3a          Translation of 6.3a
7      6.4           NuSphere Emails
8      6.5           Email from Prolexic
       6.6           Itunes Purchase Emails
9      6.7           Emails evidencing use of “smaus” and “ochko”
       6.8           Email re: Smaus
10
       6.8a          Translation of Exhibit 6.8
11     6.9           Email from Reggi.ru confirming registration of Track2.tv domain
       6.9a          Translation of Exhibit 6.9
12     6.10          Web Names Emails
13     6.10a         Translation of 6.10
       6.11          RusTelekom Emails
14     6.12          Reserved
       6.13          BlackLotus Emails
15
16     6.14          HostTracker Emails
       6.14a         Translations of Exhibit 6.14
17     6.15          Liberty Reserve Emails
18     6.16          Messages to Track2 from Carder.su
       6.17          Purchase of multi-password recovery (cracker)
19     6.18          RESERVED
       6.19          Email re: Liberty Reserve Account U9614915
20
       6.20          Email re track2.name account
21     6.21          Email from ICQ Acct Service
       6.22          Emails From Abuse@robodesk
22                   Emails-Bulbacc@yahoo.com
23     7.1           Yahoo! Business Records reflecting creation of Yahoo! account
                     bulbacc@yahoo.com
24     7.1a          Yahoo 902 Cert
       7.2           Yahoo! login records for bulbacc
25     7.3           Emails from WebNames.Ru re: registration
26     7.3a          Translation of 7.3
       7.4           E-mails from WebNames.Ru re: DNS servers
27     7.4a          Translations of Exhibit 7.4
28
     GOVERNMENT’S AMENDED EXHIBIT LIST                                                UNITED STATES ATTORNEY
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1                    nCuX Forum Posts and Registrations
       8.1           nCuX Carder Planet Registration Record
2      8.2           nCuX CardingWorld Registration Record
3      8.3           nCuX DarkMarket Registration Record
       8.4           nCuX Carder.su Registration Record
4      8.5           nCuX forum thread on Carder.su
       8.6           nCuX forum post on Carder.su
5
       8.7           nCuX forum post on CardingWorld
6      8.7a          Translation of 8.7
                     Track2 Forum Posts and Registrations
7      8.8           Track2 Carder.su Profile Page 9/26/2009
8      8.8a          Translation of 8.8
       8.9           Track2 Forum thread on Carder.su 9/26/2009
9      8.9a          Translation of 8.9
       8.10          Track2 forum thread on Carder.su 12/4/2009
10
       8.11          Track2 forum post on Carde.su 5/20/2010
11     8.12          Track2 forum post on Carder.su 6/7/2010
       8.13          Track2 forum post on Carder.su 7/21/2010
12                   2pac Forum Registrations
13     8.14          2pac CarderPro Forum Registration
       8.15          2pac Crimes.ws Forum Registration
14     8.16          2pac Verified Forum Registration
       8.17          2pac Vor.cc Forum Registration
15                   Liberty Reserve Records
16     9.1           Registration Records for Liberty Reserve Account U8518741
       9.2           Registration Records for Liberty Reserve Account U0900959
17     9.3           Registration Records for Liberty Reserve Account U9614915
18     9.4           Registration Records for Liberty Reserve Account U0045772
       9.5           Registration Records for Liberty Reserve Account U4208156
19     9.6           Reserved
       9.7           Registration Records for Liberty Reserve Account U2286723
20     9.8           Registration Records for Liberty Reserve Account U1429380
21     9.9           Registration Records for Liberty Reserve Account U6282588
       9.10          Liberty Reserve Transaction Records
22     9.11          Summary of Liberty Reserve Records
       9.12          Liberty Reserve User IP History for Account U8518741
23
       9.13          Liberty Reserve Transaction History for Account U8518741
24     9.14          Liberty Reserve User IP History for Account U0900959
       9.15          Liberty Reserve User IP History for Account U9614915
25     9.16          Liberty Reserve Transaction History for Account U9614915
26     9.17          Liberty Reserve User IP History for Account U0045772
       9.18          Liberty Reserve Transaction History for Account U0045772
27     9.19          Liberty Reserve User IP History for Account U4208156
       9.20          Liberty Reserve Transaction History for Account U4208156
28
     GOVERNMENT’S AMENDED EXHIBIT LIST                                            UNITED STATES ATTORNEY
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1      9.21          Liberty Reserve User IP History for Account U2286723
       9.22          Liberty Reserve Transaction History for Account U2286723
2      9.23          Liberty Reserve User IP History for Account U1429380
3      9.24          Liberty Reserve Transaction History for Account U1429380
       9.25          Liberty Reserve User IP History for Account U6282588
4      9.26          Liberty Reserve Transaction History for Account U6282588
                     2Pac Screen Shots
5
       10.1          Screenshots from 7/8/14 Undercover
6      10.2          Screenshots from 7/10/14 Undercover
       10.3          Screenshots From 8/14/14 Undercover
7      10.4          Undercover purchase on 2PAC
8      10.5          Dumps Purchased on 2PAC
       10.6          Additional Screenshots From 7/10/14 Undercover
9      10.7          Postings on 2Pac Feedback Page
       10.7a         Translation of 10.7
10
       10.8          Screenshots from 2/23/14 Undercover
11                   Screen Shots from PosDumps.com
       11.1          Pages from site PosDumps.com
12     11.2          Full POS Dumps website
13                   Male Operation Photos
       12.1          Aerial Photographs of the Maldives
14     12.2          Photographs of Seleznev Apprehension Operation
       12.3          Photograph of Maldives Immigration Record
15     12.4          Photograph of Seleznev personal items
16     12.5          Photo of Seized Credit Cards
       12.6          Seleznev’s Internal Russian Federation Passport (Bulk Exhibit)
17     12.6a         Photos of Seleznev’s Internal Russian Federation Passport
18     12.6b         Translation of Seleznev’s Internal Russian Federation Passport
       12.7          Seleznev’s International Russian Federation Passport (Bulk Exhibit)
19     12.7a         Photos of Seleznev’s International Russian Federation Passport
       12.7b         Translation of Seleznev’s International Russian Federation Passport
20     12.8          Laptop Seized From Seleznev (Bulk Exhibit)
21     12.8a         Reserved
       12.9          Travel Reservation Document
22     12.9a         Travel Reservation Document (Translation)
       12.10         Photographs of Flight to Guam
23
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24
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25
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27
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     GOVERNMENT’S AMENDED EXHIBIT LIST                                               UNITED STATES ATTORNEY
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1                    Items from Roman’s Seleznev’s Laptop
       13.1          Image of Seleznev’s Passport From Laptop
2      13.1a         Metadata for 13.1
3      13.2          Image of Seleznev’s Credit Card
       13.2a         Metadata for 13.2
4      13.3          Photos of Seleznev With Friends and Woman(2 pages)
       13.3a         Metadata for 13.3
5
       13.4          Photo of Seleznev with Wife and Daughter
6      13.4a         Metadata for 13.4
       13.5          Invoice from Atmosphere Resort
7      13.5a         Metadata for 13.5
8      13.6          Animated 2Pac Ad from Desktop
       13.6a         Metadata for 2Pac Ad
9      13.7          RESERVED
       13.8          Image of Hosts File
10
       13.8a         Metadata for 13.8
11     13.9          Report of Dump Files on Laptop
       13.10         Dump File: WA
12     13.10a        Metadata for 13.10
13     13.11         Dump File: 1000 Washington
       13.11a        Metadata for 13.11
14     13.12         User Credentials File “1BACK14MAY.txt” (Text File Containing Login and
                     Password Info)
15     13.12a        User Credentials File “1BACKUP.txt.txt” (Text File Containing Login and
16                   Password Info)
       13.12b        Metadata for 13.12 and 13.12a
17     13.12c        Translation of 13.12
       13.12d        Translation of 13.12a
18
       13.13         POS Dumps Website Template
19     13.13a        Metadata for 13.13

20
       13.14         Recovered image of POS Dumps Diagnostics
21     13.14a        Metadata for 13.14
       13.15         Recovered Image of Bing Search for POS Dumps
22     13.15a        Metadata for 13.15
23     13.16         Recovered image of 2pac Whois diagnostics
       13.16a        Metadata for 13.16
24     13.17         Recovered Image of 2Pac Login to InFraud
25     13.17a        Metadata for 13.17
       13.18         Recovered Image of Omerta Website with 2Pac Ad
26     13.18a        Metadata for 13.18
       13.19         Recovered Image of try2check.me
27     13.19a        Metadata for 13.19
28     13.20         Recovered Images of PACER searches
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1      13.20a        Metadata for 13.20
       13.21         Chat with psych0tic
2      13.21a        Metadata for 13.21
3      13.22         Chat with bitcoingambler
       13.22a        Metadata for 13.22
4      13.23         Chat with black.russian
       13.23a        Metadata for 13.23
5
       13.24         Chat with xxomax
6      13.24a        Metadata for 13.24
       13.25         Chat with marysnow
7      13.25a        Metadata for 13.25
8      13.26         Chat with cpro
       13.26a        Metadata for 13.26
9      13.27         Chat with hd@100500.cc
       13.27a        Metadata for 13.27
10
       13.28         Chat with JB
11     13.28a        Metadata from 13.28
       13.29         Chat with JB
12     13.29a        Metadata from 13.29
13     13.30         Summary of Parsed Search Terms From Laptop
       13.31         Summary of Firefox Form History from Laptop
14     13.32         Chat with Hohoho
       13.32a        Metadata for 13.32
15     13.33         Screenshots of Restored Computer
16     13.33a        Translation of 13.33
       13.34         Reserved
17     13.35         Reserved
18     13.36         Cybercrime and Doing Time
       13.36a        Metadata from 13.36
19     13.37         Chat With Burgled
       13.37a        Metadata from 13.37
20     13.38         Chat With Vai2000
21     13.38a        Metadata from 13.38
       13.39         Snapshot of Chat Applications
22     13.39a        Metadata for 13.39
       13.40         Summary of Metadata for Laptop Exhibits
23
       13.41         Chat With Zarmax
24     13.41a        Metadata for 13.31
       13.42         USSS Certified Inventory of Evidence
25     13.43         USSS Evidence Vault Security Access Log
26     13.44         Encase Evidence Pane Screenshot
       13.45         Firefox Web History re: POS Dumps
27     13.46         Firefox Stored Credentials
       13.46a        Metadata for 13.36
28
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1                    Items from Roman Seleznev’s iPhone and iPad
       14.1          Images from iPhone
2      14.1a         Translation of 14.1
3      14.2          Reserved
       14.3          Two photographs of Roman Seleznev
4      14.4          Photographs of Roman Seleznev Passports
       14.5          Photograph of chat session between “2PAC” and “CapitalZ0ne”
5
       14.5a         Translation of 14.5
6      14.6          Reserved
       14.7          Reserved
7      14.8          Device Information record for iPad
8      14.9          iPad Wireless Network SSID entries
       14.10         BTC-E e-mails to smaus
9      14.10a        Translation of 14.10
       14.11         iPhone Emails reflecting use of “smaus” and “ochko” login and
10
                     passwords
11     14.11a        Translation of 14.11
       14.12         iPhone E-mails confirming reservation at Kanifushi Hotel
12     14.12a        Translation of 14.12
13     14.13         iPhone E-mails related to Bali, Indonesia property
       14.13a        Translation of 14.13
14     14.14         iPhone E-mails reflecting use of romariogro1@mail.ru address
       14.14a        Translation of 14.14
15     14.15         Photographs from iPhone
16                   Business Records
       15.1          Grandbury List of IP Addresses
17     15.1a         Grandbury 902 Cert
       15.2          Western Union Wire Transfer Records
18
       15.2a         Excerpt of Exhibit 15.2
19     15.2b         Western Union 902 Cert
       15.3          Reserved
20     15.3a         Reserved
21     15.4          Black Lotus Subscriber Records
       15.4a         Black Lotus Service E-mails
22     15.4b         Black Lotus 902 Cert
       15.5          PayPal Records for Account number ***************4042
23
       15.5a         PayPal 902 Cert
24     15.6          Reserved
       15.7          Red Pepper Invoice for New POS System
25     15.8          FDIC Certificates
26     15.8a         Certificate of Proof of Insured Status for FDIC Certificates
       15.9          NCUA Certificates
27     15.10         Reserved
       15.11         Cloudflare Records of 2pac.cc account
28
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1      15.11a        Cloudflare 902 Cert
       15.12         Grand Central Banking Business Records—Notice of Bank of America
2                    Fine
3      15.13         BOP Trulincs Contact List
       15.13a        BOP 902 Cert
4      15.14         NuSphere Records
       15.15         NuSphere 902 Certification
5
       15.16         Broadway Grill Records
6                    Other
       16.1          Photos of Seleznev wedding with Gaponov
7      16.2a         Cesar Carranza Laptop
8      16.2          nCuX111 chat with ubuywerush re – purchase of MSR206
       16.3          nCuX111 chat with ubuywerush re – Hi this is nCuX
9      16.4          nCuX111 chat re Western Union to Thailand - Liudmila Bochkareva
       16.5          Forensic Artifacts from 2pac.cc server
10
       16.6          Loss Summary
11     16a           Financial Institution Victims
       16b           Summary of Bank Specific Losses
12     16.7          Screenshot From Spravku.Net
13     16.7a         Translation of 16.7
       16.8          Reserved
14     16.9          Reserved
       16.10         Forensic Evidence Extract: Cleveland Drive
15     16.11         Reserved
16     16.12         Summary of Victim IP Addresses
       16.13         Screenshots From Omerta Website
17     16.14         Summary of Travel From Passport
                     Demonstrative Exhibits
18
       17.1          Sample Credit Card
19     17.2          MSR 206 (bulk exhibits)
       17.3          List of Translations Reviewed for Accuracy by Andrei Medvedev
20     17.4          Global Map With Relevant IP Addresses
21     17.5          Point of Sale System Diagram
       17.6          Diagram of Track2 Infrastructure
22     17.7          Reserved
       17.8          Sample Encase Evidence Pane Screen Shot
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                                                                                        (206) 553-7970
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 1           DATED this 28th day of July, 2016.
 2 Respectfully submitted,
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 4
 5
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1                                      CERTIFICATE OF SERVICE
2
3            I hereby certify that on July 28, 2016, I electronically filed the foregoing with the
4 Clerk of Court using the CM/ECF system which will send notification of such filing to
5 the attorneys of record for the defendant.
6
7                                                       s/Janet K. Vos
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